
Reese, J.
delivered the opinion of the court.
The bill alledges that the complainant borrowed of the defendant a sum of money in Alabama bank notes, for which he bound himself by a bill single, at some time thereafter, to pay Tennessee bank notes, to an equal amount. The bill alledges that the bank notes of Alabama were not worth so much as those of Tennessee, and insists, therefore, that the transaction was usurious; and seeks upon that ground to abate the judgment at law, which has been rendered upon the bill single. The answer admits the general statement of the bill, and avers that the parties had no purpose to avoid or evade the statutes against usury; that no usury was intended to be secured; but that the complainant at the time, said that the Alabama notes would be as valuable to him as Tennessee money.
The cause was heard on bill and answer, and the Chancellor saw fit to dismiss the bill. In this we think there was no error. The principle settled in the case of Turney vs. The Bank of *36Tennessee, (5 Hump.) sustains the decree of the Chancellor in the case before us. That usury is not an inference of law, to be drawn from the mere inequality of value between the currency loaned, and that stipulated to be paid for it; but on the contrary, is a question of intention, to be made out by the proof of facts. The principle itself of that case was, upon the elaborate discussion and the most satisfactory reasoning, held to exist and to be correct in the cases determined in the Supreme Court of the United States, and referred to and relied on in Turney vs. The Bank. It is sufficient to state here, that it governs the present case.
Let the decree of Chancellor be affirmed.
